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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
vs.                                         )   Case No. 13-CR-30259-NJR-1
                                            )
SCOTT T. HYDEN,                             )
                                            )
                     Defendant.             )




                                ORDER OF DETENTION

SISON, Magistrate Judge:

      Defendant appeared with counsel on October 31, 2019, for an initial appearance

on a petition to revoke supervised release and preliminary hearing. Defendant filed a

written waiver of a preliminary hearing, and the Court finds the waiver to be voluntary

and counseled and that probable cause exists and that the matter is to be set for an

evidentiary hearing.

      Defendant requested bond, and argument of counsel was heard. Defendant failed

to demonstrate by clear and convincing evidence that he should be admitted to bond.

The request for bond is DENIED, the government’s motion for detention is GRANTED,

and IT IS ORDERED that the Defendant be detained and held in custody pending

further disposition of this matter.

      IT IS FURTHER ORDERED that (1) Defendant shall be COMMITTED to the

custody of the United States Attorney General for confinement in a corrections facility




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separate, to the extent practicable, from persons awaiting or serving sentences or being

held in custody pending appeal; (2) Defendant shall be AFFORDED reasonable

opportunity for private consultation with his attorney or any person hired by his

attorney for the purpose of preparing a defense; and (3) on Order of a Court of the

United States or on request of an attorney for the Government, the person in charge of

the corrections facility in which defendant is confined shall DELIVER Defendant to a

United States Marshal for the purpose of an appearance in connection with a court

proceeding.

DATED: October 31, 2019


                                               s/ Gilbert C. Sison
                                               HON. GILBERT C. SISON
                                               United States Magistrate Judge




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